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IN THE UNITED STATES DISTRICT COURT
FOR THE
DISTRICT OF NEW JERSEY

MDL No. 2875 - IN RE: VALSARTAN N-NITROSODIMETHYLAMINE (NDMA)
CONTAMINATION PRODUCTS LIABILITY LITIGATION

CONSENT OF TRANSFEREE COURT
The United States District Court for the District of New Jersey hereby consents to
the assignment of the actions involved in the above-described litigation to the Honorable Robert
B. Kugler for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407.
In the event that reassignment of this litigation to another judge becomes necessary,

such reassignment shall take place in accordance with Section 1407(b) and Panel Rule 2.1(e).

ST
Chief Judge

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PLEASE FAX OR EMAIL THE SIGNED FORM TO:

Mr. Jeffery N. Liithi, Clerk of the Panel, Judicial Panel on Multidistrict Litigation @ fax number
202-502-2888 or email address MDLPanelOrders/JPML/DCA/JPML/USCOURTS.

THIS ASSIGNMENT IS CONFIDENTIAL UNTIL THE ORDER OF TRANSFER IS FILED
BY THE PANEL.

SHOULD REASSIGNMENT BECOME NECESSARY, PLEASE CONTACT THE PANEL
EXECUTIVE, Thomasenia P. Duncan, at 202-502-2800.
